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FILED

UNITED STATES DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT LAS CRUCES. NEW MEX:CO

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FOR THE DISTRICT OF NEW MEXIC DEC 23 2015
UNITED STATES OF AMERICA, MATTHEW J, OYKMAN
CLERK
Plaintiff,
vs. CRIMINAL NO, 15-1515 RB
DANIEL LEE JACQUEZ,
TOBY CHAPIN PADILLA,

JUDAH GRANDE MONDELLO,
ERIC JAMES RUIZ,

GILBERT J. MORENO,

a.k.a. “Gibby,”

ANTHONY R. DAVILA,

a.k.a. “Weasel,”

GARY LEE ROMERO, JR.,
CRYSTAL MEDINA GOMEZ,
KEVIN R. CARTER, and
FREDDY J. LUCERO,

Defendants.

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SECOND AMENDED SCHEDULING ORDER

THIS MATTER came before the Court upon the unopposed motion for a continuance of
the trial presently set for February 29,2016. The Court having considered the motion, being fully
advised in the premises, and in light of the Court’s order declaring the case complex pursuant to 18
U.S.C. § 3161(h)(7){A), finds that there is a sufficient record to justify granting the motion to
continue. IT IS HEREBY ORDERED that the trial in this cause be continued 120 days.

The Court, having granted the motion, and considering the proposed amended scheduling
order, hereby imposes the following deadlines, without objection from the parties, in this case:

1, March 22, 2016: Expert witness notices and reports; Fed. R. Crim. P. 16 discovery
motions; Fed, R. Crim. P. 7(f) motions;

2. March 28, 2016: Responses to Fed. R. Crim. P. 16 discovery motions and Rule

7(f) motions;

 
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3, April 18, 2016: Fed. R. Crim. P. 12 pretrial motions; Daubert motions;

6. May 9, 2016: Responses to pretrial and Daubert motions;

7. May 16, 2016: Replies to responses to pretrial and Daubert motions;

8, June 6, 2016: Plea agreements; notice of defenses pursuant to Fed, R, Crim. P.
12.1 through 12.3;

9. June 20, 2016: Responses to notices of defenses; motions in limine, Fed. R. Evid.
404(b) notices; jury instructions, proposed voir dire; and

10, June 27, 2016: Jury Selection/Trial at 9:00 a.m. Federal Courthouse, Las Cruces,
New Mexico.

The Court further orders that the United States shall make available to the defendants by
the time required by the applicable law all material for which disclosure is mandated by Giglio v.
United States, 405 U.S. 150 (1972); and the Jencks Act, 18 U.S.C. § 3500.

The Court further orders, pursuant to 18 U.S.C. ' 3161(h)(7)(B)(ii), that the time between

the entry of this Order and the trial date is excluded for the purposes of the Speedy Trial Act

computation.

 

HONORA OBERT C. BRACK
United States District Judge

 

 
 

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Submitted by

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